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   Guy Gentile
   103 Ave De Diego
   A pt.52202
   San Juan,PR 00911
   787-363-7833

                                     Septem bef29,2021


   VIA US M A IL

   The Hönorable Judge Beth Bloom
   Uni ted States D istrictC burt
   Southern DistrictofFlorida
   W ilkie D.Ferguson,Jr.United States Coudhouse
   400 North M iam iAvenue
   Cham b:rs 10-2
   M iam i'
          , Fl
             orida 33128


      Re:Securities and Exchange Comm ission v.Guy Gentile,No:1:21-CV-21079-BIoom .
                                                              .




   DearJudge Bloom ;.

          Iam selfrepresenting m yselfuntillcan hire counselin thq above-referenced

   matterin response to the SEC'S Motion filed'september20,2021.Ihope Iw illbe
                                                         L

   allowed afairopportunityto cle@rthe reqord and allow meto show thecàurtthe SEC
   did Iittle to nothing to try and properly serke me which is my due process rights.The

   SEC did notoncetryto serveme atmyaddress.lrecei
                                                 vedzero phone callsfrom
   security,zero knocks on my door,and no one was waiting form e outside.The SEC

   showed this courtthatthey had my emailaddress,and they have m y phone number,

   butnoonecalled oremailed me; Forsix monthsthe SEC couldn'tfindsomeonlwho is
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   6'2 in on a sm allisland ofmep with an aver@ge heightof576,FBlSp:cialAgeqt

   Stephanie Davis once told m e ldIstand ouf',so ithard to believe anyone was really

   trying to >erve m e.IIeqve m y apadm entalm ostevery day and frequentpopular

   restaurants nearby.

         The reality is the VEC did notc@re aboutserving me,they instead only cared
   aboutharassing m y Ioved ones,forexam ple sending the Police to intim idate my
                    '                      .
                          .



   girlfriend,pretending to have a warrant,pretending to be propedy inspectors to illegal

   gairiaccess to the inside ofthe apadm ent,pretending to be realestate agents and

   m any otherquestionable actions.The SEC is the FederalG overnm entand ifthey
                                                                                   j    '
   wanted m e >erved lwould be,they have resources no one else has.The SEC s efforts

   here are onlyaboutpaintingthe tape ofmé'being uncooperative.Itisfunny how quickly
   the SEC forgets thatthey had dpen access to everything in my Iife fornearly 4 years

   when lwas working alm ostfulltim e with them and the FBI.lhave helped the SEC foi
   yearsbring cases,butwhen Ididn'iwanttodo itanymore iswhenthey startedthe
   harassmentcampaignagainstmeth4thasbeengoing onforoverd years.


   SEC False Statem ents

         I'm notgoing to address allofthe SEC bogus claims here becapse the Iistwould
   be too Iong.Butfoiexample,Jessica W èissman's declàration claims Iwas the only

   signerforthe SureTraderbrokerage account.This is also falpe,she provides no ptoof.

   The SEC knows,butinlentionallydid nottelltheCoud tl
                                                     ietruth aboutthisbecausèthe
   SEC staffattorneys Ibelievq think they are above the Iaw.The rea>on Iknow this is



               GUY GENTILE I103AVE DE DIEGO,52202,SAN'JUAN PR 00911I787-363-7833
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   because Iworked with them foryearsand know how they stretch the truthtillthe pointit
   is a lie.The SEC Iikesto regurgitate theiroften repeated skewed views ofme.This is

   notthe SEC firstattem ptatdoing this.Ihave been too often the victim ofthe sm ugness
                                                                                      x



   ofthese Iine SEC attorneys.This isthe reason l'm writing this letterto you.l

   C onclusion

            Iam requesting thatthe SEC properly serves m e.Iwillbe happyto receive from

   the SEC an overnightm ailofthe sum m ons and com plaintto m y address above,orhave

   theirprocess servermeetmè outqide m y apadm entatan agreed upon date and time.l
   respectfùlly requestthe courtto allow me 90 days to answerthe com plaintonce served
                                                .




   asthisisa complexçasethatsjans 10 yearsvzSincethe SEC hastakenalmostsix
   months to try and serve me;as they have allegedl
                                                  y been investigating me since 2013 to

   2021,which has caused the 3rd Circuitto callthem Iazy and incom pident.The reason I

   need moretime is 1.There are overFive (5)heavilydockedcasesinvolvingthisone;2.
   The SEC'S discovery thatthey unwillingly prdvided in one ofthose çases is so huge and

   1Ifthe SEC wasso open and honestto this courtas itis required to be with aIIcouds,
   then whatis the reaspn they did nottellthis Courtaboutthe brow beating they received
   aboutthese same allegations in New Jerseythatthey are now bringing in Florida.
   httpg://- .poudllgtëner.com/dockê#4sv lv7-,
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   nvv,u'entllë/
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   w gentlle/                                                .

   httpg://w w w .coudligtenes.com/dôckeV4s,7980/46/secusitIe:-ând,exchânqe-öom m i:glons-
       - -- - -                                                                       ,

   v-centile/


   2The SEC hasahistoryofoverreachingW ithme and notplayingfair.Forexatnple,the
   3rdCircuitJudgecalledtheSEC attorneysIazyandimcomgetentandcalledtheir
   Floridainvestijationridiculous.'***
                                    . ,cbudlistener,cnm/aadto/67g6B/nenWileev
                                                                            .ts
                                                                              necl.If
   you Iisten to thls 3rd Circuitaudio,you w illclearly see this is retributipn againstm e.


                  GUY GENTILE I1O3AVE DE DIEGO,52202,SAN JUAN PR 00911I787-363-7833
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   purposely disorganized withhundredsofthousandsofdocumentsarejustsomeofthe
   reasonswhy Ishould be granted 90 days to answqr.The SEC haswaited years and

   yearsto briigthis case;theyare notprejudiced bywaiting90 more daysformeto
   ansW er.'




                                                         Respectfull        itted,



                                                         Gu        ' 1 erSe


   Cc:Alice K.Sum
   SECURITIES AND EXCHANGE COM MISSION
   801 BrickellAvenue,Suite 1950
   M iam i,Florida 33131




               GUY GENTILE 1103AVE DE DIEGO,52202,SAN JUAN PR 00911l787-363-7833
